      Case 2:09-cr-00132-FVS    ECF No. 85   filed 04/20/10   PageID.250 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-09-132-FVS-1
 6
                       Plaintiff,

 7
                                                        ORDER RE APRIL 19, 2010,
                 v.                                     HEARING
 8

 9
     SANTIAGO FARIAS-VALDOVINOS,

10
                       Defendant.

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12        THIS MATTER having come before the Court on April 19, 2010, for a
     pretrial conference; Now, therefore
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          IT IS HEREBY ORDER:
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          1. Mr. Farias-Valdovinos’ motion to suppress (Ct. Rec. 69) is
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     denied for the reasons given by the Court.
16        2. Mr. Farias-Valdovinos’ motion for a Daubert hearing (Ct. Rec.
17   71) is denied as premature.

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          3. Mr. Farias-Valdovinos’ motion to sever defendants (Ct. Rec.
     73) is denied.
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          4. Mr. Farias-Valdovinos’ motion to sever counts (Ct. Rec. 73) is
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     granted.    Counts 1 and 2 will be tried in one trial.              Counts 3, 4, and
21   5 will be tried in another trial.
22        IT IS SO ORDERED.       The District Court Executive is hereby
23   directed to enter this order and furnish copies to counsel.
          DATED this     20th       day of April, 2010.
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25
                                s/ Fred Van Sickle
                                   Fred Van Sickle
26
                         Senior United States District Judge

     ORDER - 1
